                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION

   Benjamin Reetz, individually and as the
   representative of a class of similarly situated
   persons, and on behalf of the Lowe’s 401(k) Plan,

                                Plaintiff,             Case No. 5:18-cv-00075-KDB-DCK

   v.

   Lowe’s Companies, Inc., Administrative
   Committee of Lowe’s Companies, Inc., and
   Aon Hewitt Investment Consulting, Inc.,

                                Defendants.



MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR FINAL
    APPROVAL OF PARTIAL CLASS ACTION SETTLEMENT WITH
                   LOWE’S DEFENDANTS




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                                         INTRODUCTION

        On June 9, 2021, this Court preliminarily approved the Settling Parties’ Class Action

Settlement Agreement, which resolves Plaintiff’s class action claims against the Lowe’s

Defendants1 under the Employee Retirement Income Security Act (“ERISA”) relating to the

Lowe’s 401(k) Plan (“Plan”) and the Aon Growth Fund. See Dkt. 234. The Court found on a

preliminary basis that the terms of the partial Settlement are “fair, reasonable, and adequate, and

within the range of possible approval,” as well as in accordance with all applicable requirements

of law, and approved the distribution of the Notices of Settlement as specified in the Settlement

Agreement. See id. at 2.

        The events following this order confirm that the Court’s preliminary analysis was correct.

First, an Independent Fiduciary reviewed the Settlement pursuant to Department of Labor (“DOL”)

regulations and independently determined that the Settlement terms are reasonable. See

Declaration of Kai Richter in Support of Plaintiff’s Motion for Final Approval of Partial Class

Action Settlement with Lowe’s Defendants (“Third Richter Decl.”) Ex. 1. Among other things, the

Independent Fiduciary found that (1) “[t]he Settlement is fair and balanced and . . . is advantageous

to the Plan”, (2) “[t]he terms of the release . . . are determined to be reasonable”, (3) “[t]he Plan of

Allocation is reasonable . . . and is cost effective as Participant Class Members will be funded

directly into their Plan accounts and Former Participant Class Members will have the opportunity

to elect a rollover or receive a direct cash payment”, and (4) “[c]onsidering the work performed,

the extensive defenses that were raised, the results achieved, and the litigation risk assumed by

Class Counsel; . . . the requested attorneys’ fees are reasonable.” Third Richter Decl. Ex. 1 at 5–6,

8–9.


1
 The “Lowe’s Defendants” or “Settling Defendants” refers to Lowe’s Companies, Inc. (“Lowe’s”)
and the Administrative Committee of Lowe’s Companies, Inc. (“Administrative Committee”).
                                                   1

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       Second, notice of the Settlement was provided to more than 74,000 class members, and in

response only one objection was received. See Third Richter Decl. ¶ 4 & Ex. 2. The fact that

99.99% of class members voiced no concerns about the Settlement further demonstrates that the

Settlement is fair and reasonable. See Herrera v. Charlotte Sch. of Law, LLC, 818 Fed. App’x.

165, 178 (4th Cir. 2020) (noting that district court did not abuse its discretion in finding that the

“vast majority” approved of the settlement terms where only 4% of class filed objections); In re

Lumber Liquidators Chinese-Manufactured Flooring Prod. Mktg. Sales Practices, 2018 WL

11203065, at *6 (E.D. Va. Oct. 9, 2018) (“A small number of objections and a low opt-out rate

suggest that the proposed settlement is adequate.”), aff’d sub nom In re: Lumber Liquidators

Chinese-Manufactured Flooring Prod. Mktg., Sales Practices & Prod. Liab. Litig., 952 F.3d 471

(4th Cir. 2020) (citing In re The Mills Corp. Sec. Litig., 265 F.R.D. 246, 258 (E.D. Va. 2009)).

Moreover, the lone objection that was received did not raise any issue with respect to the adequacy

of the Settlement, and only pertained to Class Counsel’s request for attorneys’ fees. For the reasons

discussed below, that objection should be overruled. Regardless, the Settlement is not conditioned

upon approval of Class Counsel’s attorneys’ fees. See Settlement Agreement, Dkt. 221-3, ¶ 7.1.

       Accordingly, Plaintiff respectfully requests that the Court grant final approval of the

Settlement. This motion is unopposed by the Lowe’s Defendants, and Defendant Aon Hewitt

Investment Consulting, Inc. (“Aon”) takes no position on the motion.

                                        BACKGROUND

I.     PROCEDURAL HISTORY2

       A.      Pleadings and Motion to Dismiss

       Plaintiff filed this action on April 27, 2018. Dkt. 1. In his Class Action Complaint, Plaintiff


2
 The procedural history of this case was previously discussed in connection with Plaintiff’s motion
for preliminary approval (Dkt. 221) and motion for attorneys’ fees, costs, and class representative
service award (Dkt. 249). For ease of reference, Plaintiff has recounted that history here.
                                                 2

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asserted claims for (1) breaches of the fiduciary duties of loyalty and prudence under 29 U.S.C.

§ 1104(a)(1); and (2) failure to monitor fiduciaries. Dkt. 1. In summary, Plaintiff alleged that Aon

engaged in an imprudent and self-serving scheme to replace the Plan’s eight existing equity

investment options with a new and underperforming Growth Fund managed by Aon, and

transferred over $1 billion to this fund, with the consent of the Lowe’s Defendants. Id. ¶ 1.

       The Lowe’s Defendants moved to dismiss the Complaint on June 29, 2018 for failure to

state a claim. Dkt. 38. On February 14, 2019, Magistrate Judge David Keesler recommended that

the motion be denied. Dkt. 54. The Lowe’s Defendants filed an objection, Dkt. 55, but on

September 6, 2019, this Court entered an order largely adopting Judge Keesler’s recommendation,

Dkt. 58. The Court denied the motion as to Plaintiff’s breach of fiduciary duty claim, id. at 12, and

dismissed only the portion of Plaintiff’s failure to monitor claim related to Lowe’s alleged failure

to monitor Aon, id. at 16.

       Plaintiff filed a First Amended Complaint (“FAC”) on March 23, 2020, adding as

defendants the individual members of the Administrative Committee, while leaving the substance

of Plaintiff’s allegations unchanged. Dkt. 84. On October 29, 2020, Defendants stipulated to class

certification, Dkt. 94, and the Court approved the stipulation on November 5, 2020, Dkt. 97.3 As

part of the same stipulation, Plaintiff agreed to dismiss the individual members of the

Administrative Committee as defendants, and Lowe’s agreed that it “will be responsible” for any

judgment based on their acts or omissions. Dkt. 94 at ¶ 2.




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  The Court’s order was preliminary at the time it was issued, Dkt. 97, but automatically became
final because no objections to class certification were received from the class after notice was
provided to the class, see Dkt. 181.
                                                 3

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        B.     Discovery, Mediation, and Settlement

        Following the Court’s ruling on the motion to dismiss, the parties engaged in extensive

discovery. In total, the parties produced more than 400,000 pages of documents. See Declaration

of Kai Richter in Support of Plaintiff’s Motion for Preliminary Approval of Partial Class Action

Settlement with Lowe’s Defendants (“First Richter Decl.”), Dkt. 221-1, ¶ 11. Plaintiff also

subpoenaed six third parties and received nearly 25,000 pages of documents in response. Id. ¶ 12.

In addition, the parties have taken 17 depositions and have served expert reports (and/or rebuttal

reports) from nine expert witnesses, including five experts retained by Plaintiff. Id. ¶¶ 13–14.

        The parties engaged in an initial mediation session on November 12, 2020, but were unable

to reach an agreement. Id. ¶¶ 16–17. Subsequently, the parties each moved for summary judgment

on December 17, 2020, see Dkt. 134, 137, 140, and the Court denied the motions on February 12,

2021, see Dkt. 198. The Lowe’s Defendants and Plaintiff then engaged in a second mediation on

March 22, 2021, which ultimately resulted in a settlement between them shortly before trial was

scheduled to begin. First Richter Decl. ¶ 17.

II.     OVERVIEW OF SETTLEMENT TERMS

        A.     The Settlement Class

        In granting preliminary approval of this partial Settlement, the Court preliminarily certified

the following Settlement Class:

        All participants and beneficiaries of the Lowe’s 401(k) Plan whose Plan account
        balances were invested in the Aon Growth Fund at any time on or after October 1,
        2015, through the date of preliminary approval, excluding the Settling Defendants,
        any of their directors, and any officers or employees of the Settling Defendants with
        responsibility for the Plan’s investment or administrative functions.

Dkt. 234 ¶ 2. This Settlement Class is consistent with the class previously certified by the Court.

Id. (citing Dkt. 97). There are 74,724 Settlement Class Members. See Declaration of Jeff Mitchell

(“Mitchell Decl.”) ¶ 9.

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        B.      Monetary Relief

        Under the Settlement, Lowe’s will contribute a Gross Settlement Amount of $12,500,000

to a Qualified Settlement Fund (“Settlement Fund”). Settlement Agreement, Dkt. 221-3, ¶¶ 1.30,

1.44, 4.2. After accounting for any Attorneys’ Fees and Costs, Administrative Expenses, and class

representative Service Award approved by the Court, the Net Settlement Amount will be

distributed to Settlement Class members in accordance with the Plan of Allocation in the

Settlement. Id. ¶ 4.8. Under the Plan of Allocation, the Settlement Administrator shall determine

an Average Settlement Score for each Settlement Class Member. Id. ¶ 5.1(a). For purposes of

making this determination, the Average Settlement Score shall be calculated based on the amount

invested by each class member in the Aon Growth Fund at the beginning of each quarter during

the Class Period. Id. The Settlement Administrator shall then determine the settlement payment for

each class member by calculating each such class member’s pro-rata share of the Net Settlement

Fund based on his or her Average Settlement Score compared to the sum of the Average Settlement

Scores for all Settlement Class Members. Id. ¶ 5.1(b).

        The Plan accounts of Participant Class Members who are currently enrolled in the Plan will

be automatically credited with their share of the Net Settlement Amount. Id. ¶ 5.2(b). Former

Participant Class Members who no longer have a Plan account may elect to have their share of the

Net Settlement Amount rolled over into an individual retirement account or other eligible employer

plan by submitting a Former Participant Rollover Form. Id. ¶ 5.3. Any former participants who do

not submit a Former Participant Rollover Form will receive their share via check. Id ¶ 5.3(a)(ii).

Under no circumstances will any monies revert to Lowe’s. Any checks that are uncashed after

120 days will revert to the Settlement Fund and will be used to defray administrative costs of the

Plan. Id. ¶ 5.6(b).



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       C.      Prospective Relief

       The Settlement also provides for significant prospective relief. In particular, the Settling

Parties have agreed to the following additional terms: (1) within twelve (12) months after the

Settlement Effective Date, the Administrative Committee will issue an RFP for a delegated

fiduciary investment manager for the Plan; (2) the Committee will engage an independent

consulting firm (unrelated to Aon) with experience conducting similar RFPs to assist with the RFP

process; (3) the candidates in the RFP process will be free to propose alternative investment

options, investment strategies, and/or investment lineup structures to the Administrative

Committee; and (4) as part of the process, the Administrative Committee will consider all options

presented. Id. ¶ 6.1.

       D.      Release of Claims and Bar Order

       In exchange for the relief provided by the Settlement, the Settlement Class will release the

Lowe’s Defendants and affiliated persons and entities as described in the Settlement Agreement

(the “Released Parties”) from all claims:

           That were asserted in the Action against the Settling Defendants or could have
            been asserted against the Settling Defendants, including but not limited to those
            based on (1) the selection, retention, or monitoring of the Aon Growth Fund,
            (2) the mapping of Plan assets to the Aon Growth Fund; (3) the selection,
            retention, or monitoring of Aon; (4) the performance, fees, and other
            characteristics of the Aon Growth Fund, (5) Aon Hewitt’s performance or fees,
            or the services provided by Aon to the Plan; or (6) the restructuring or
            modification of the Plan’s investment lineup;

           That would be barred by res judicata based on the Court’s entry of the Final
            Approval Order;

           That arise from the direction to calculate, the calculation of, and/or the method
            or manner of the allocation of the Net Settlement Fund pursuant to the Plan of
            Allocation; or

           That arise from the approval by the Independent Fiduciary of the Settlement
            Agreement.


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Id. ¶¶ 1.38, 8.1(a). Claims against Aon are not released by the Settlement. Id. ¶¶ 1.38, 8.5.

Likewise, claims to enforce the Settlement Agreement, and claims for individual vested benefits

that are due under the terms of the Plan, also are not released. Id.

         In addition, the Settlement calls for entry of a Bar Order to address potential claims for

contribution or indemnity between the Settling Defendants and Aon. Id. ¶ 2.3(g). After giving the

proposed Bar Order careful consideration, this Court entered the Bar Order on June 2, 2021. See

Dkt. 231. The Bar Order precludes Aon, the Settling Defendants, Released Parties, and any person

purporting to act on their behalf from asserting any Barred Claims against Aon, the Settling

Defendants, and Released Parties in this Action or in any other forum, action or proceeding. See

Dkt. 231 at ¶¶ 1–2; see also Dkt. 234 at 5. The Bar Order also provides that any judgment entered

against Aon in the Action will be subject to a judgment reduction credit based on what the Court

ultimately determines to be the “proportionate share of fault” of Aon and the Settling Defendants.

Dkt. 231 at ¶ 3.

III.     PRELIMINARY APPROVAL OF THE SETTLEMENT

         On June 9, 2021 the Court issued an Order granting preliminary approval of the Settlement.

Dkt. 234. In its Order, the Court preliminarily certified the Settlement Class for Settlement

purposes and found that the terms of the partial Settlement are “fair, reasonable, and adequate, and

within the range of possible approval,” as well as in accordance with all applicable requirements

of law. Id. at 2. The Court therefore approved the distribution of the Notices of Settlement as

specified in the Settlement Agreement. Id. In addition, the Court appointed Analytics

Consulting LLC (“Analytics”) to serve as the Settlement Administrator, distribute the Notices, and

carry out the other duties specified in the Settlement Agreement. Id. at 2–3.




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IV.     CLASS NOTICE AND REACTION TO THE SETTLEMENT

        Pursuant to the Court’s Order preliminarily approving the Settlement, Analytics mailed

Notices of Settlement to each of the Settlement Class members identified by the Plan’s

recordkeeper. See Mitchell Decl. ¶ 9. In total, 74,724 Notices were mailed. Id.

        Prior to sending these Notices, Analytics cross-referenced the addresses on the class list

with the United States Postal Service National Change of Address Database. Id. ¶ 8. In the event

that any Notices were returned, Analytics re-mailed the Notice to any forwarding address that was

provided, and performed a skip trace in an attempt to ascertain a valid address for the Class

Member in the absence of a forwarding address. Id. ¶¶ 11–12. As a result, the notice program was

very effective. Out of 74,724 Notices that were mailed, only 0.62% were ultimately undeliverable

despite these efforts. Id. ¶ 13.

        If any Class Members desired further information, Analytics established a Settlement

Website at www.lowes401kclassaction.com. Id. ¶ 14. Among other things, the Settlement Website

includes: (1) a “Frequently Asked Questions” page containing a clear summary of essential case

information; (2) a “Home” page and “Important Dates” page, each containing clear notice of

applicable deadlines; (3) case and settlement documents for download (including, among other

things, the Settlement Agreement, Notices of Settlement, Former Participant Rollover Form, First

Amended Complaint (“FAC”), Defendants’ Answers to the FAC, the Court’s Preliminary

Approval Order, and Plaintiff’s Motion for Approval of Attorneys’ Fees and Costs, Administrative

Expenses, and Class Representative Service Award and related documents); (4) contact

information for Class Counsel and the Lowe’s Defendants’ Counsel; and (5) email, phone, and

U.S. mail contact information for Analytics. Id. In addition, Analytics created and maintained a

toll-free telephone support line (1-877-319-3102) as a resource for Class Members seeking



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information about the Settlement. Id. ¶ 15. This telephone number was referenced in the Notices,

and also appears on the Settlement Website. Id.

       The deadline to submit objections to the Settlement was August 12, 2021. See Dkt. 234 at

¶ 8. As of this filing, only one individual out of more than 74,000 class members has lodged an

objection. See Third Richter Decl. ¶ 4; Mitchell Decl. ¶ 16.

       Additionally, on June 7, 2021, on behalf of the Lowe’s Defendants, Analytics sent the

notices required by the Class Action Fairness Act, 28 U.S.C. § 1715, to the appropriate federal and

state officials. Mitchell Decl. ¶ 6. No objections have been received in response to the CAFA

notices.4

V.     REVIEW AND APPROVAL BY INDEPENDENT FIDUCIARY

       Pursuant to Paragraph 2.2 of the Settlement Agreement and applicable ERISA regulations,5

the partial Settlement was submitted to an Independent Fiduciary (James P. Carroll of Carroll

Services, LLC) for review following the Court’s Preliminary Approval Order. See Third Richter

Decl. Ex. 1. After reviewing the Settlement and numerous case documents, and interviewing

counsel for each of the Settling Parties, the Independent Fiduciary concluded that (1) “[t]he

Settlement is fair and balanced and . . . is advantageous to the Plan”, (2) “[t]he terms of the release

. . . are determined to be reasonable”, (3) “[t]he Plan of Allocation is reasonable . . . and is cost

effective as Participant Class Members will be funded directly into their Plan accounts and Former

Participant Class Members will have the opportunity to elect a rollover or receive a direct cash

payment”, and (4) “[c]onsidering the work performed, the extensive defenses that were raised, the



4
  A settlement cannot be finally approved by the Court under CAFA until at least 90 days after the
appropriate state and federal officials have been served (i.e., September 6, 2021). 28 U.S.C. §
1715(d).
5
  See Prohibited Transaction Exemption 2003-39, 68 Fed. Reg. 75632, as amended, 75 Fed. Reg.
33830.
                                                  9

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results achieved, and the litigation risk assumed by Class Counsel; . . . the requested attorneys’

fees are reasonable.” Third Richter Decl. Ex. 1 at 5–6, 8–9. The Independent Fiduciary therefore

approved and authorized the Settlement on behalf of the Plan, and indicated that it has no objection

to any aspect of the Settlement. Third Richter Decl. ¶ 3 & Ex. 1 at 12-23.

                                          ARGUMENT

I.     STANDARD OF REVIEW

       “It has long been clear that the law favors settlement.” Sims v. BB&T Corp., 2019 WL

1995314, at *3 (M.D.N.C. May 6, 2019) (“Sims I”) (quoting United States v. Manning Coal Corp.,

977 F.2d 117, 120 (4th Cir. 1992)). “This is particularly true in class actions.” Id. (citations

omitted); Clark v. Duke Univ., 2019 WL 2588029, at *4 (M.D.N.C. June 24, 2019) (“Clark I”);

West v. Cont’l Auto., Inc., 2018 WL 1146642, at *3 (W.D.N.C. Feb. 5, 2018). Under Rule 23(e)(1)

the Court will approve a class action settlement if it is “fair, reasonable, and adequate.” Gaston v.

LexisNexis Risk Sols. Inc., 2021 WL 2077812, at *5 (W.D.N.C. May 24, 2021) (“Gaston II”)

(quoting Fed. R. Civ. P. 23(e)(1)).

       “The Fourth Circuit has bifurcated the analysis into consideration of fairness, which

focuses on whether the proposed settlement was negotiated at arm’s length, and adequacy, which

focuses on whether the consideration provided the class members is sufficient.” Clark I, 2019 WL

2588029, at *4 (quotation marks and citations omitted); Gaston II, 2021 WL 2077812, at *5 (citing

In re Jiffy Lube Secs. Litig., 927 F.2d 155, 158–59 (4th Cir. 1991)). This is the same standard that

the Court applied in preliminarily approving the Settlement. See Dkt. 234. In so doing, the Court

found that “the Settlement Agreement is fair, reasonable, and adequate.” Id. at 2. There is no reason

to reach a different conclusion on final approval, especially since (1) the Settlement has now been

independently reviewed and approved by an Independent Fiduciary, and (2) only a single class

member has objected to the Settlement.

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II.     THE SETTLEMENT IS FAIR

        “The Fourth Circuit has set forth the factors to be used in analyzing a class settlement for

fairness: (1) the posture of the case at the time the proposed settlement was reached, (2) the extent

of discovery conducted, (3) the circumstances surrounding the settlement negotiations, and

(4) counsel's experience in the type of case at issue.” Gaston II, 2021 WL 2077812, at *5 (citing

Jiffy Lube, 927 F.3d at 158–59). Here, each of these four factors indicate the Settlement is fair.

               A.      Posture of the Case

        At the time of settlement, the Settling Parties were only a few weeks from trial. The mature

posture of this case demonstrates that it was ripe for settlement. See Flinn v. FMC Corp., 528 F.2d

1169, 1173 (4th Cir. 1975) (“The fact that all discovery has been completed and the cause is ready

for trial is important, since it ordinarily assures sufficient development of the facts to permit a

reasonable judgment on the possible merits of the case.”); US Airline Pilots Ass’n v. Velez, 2016

WL 4698540, at *4 (W.D.N.C. Sept. 7, 2016) (“Velez II”) (“[A]fter numerous . . . years of

litigation, the Parties are well aware of the important facts and the strength of their cases[.]”).

               B.      Extent of Discovery

        The extensive discovery that was undertaken also supports a finding of fairness. See

Gaston II, 2021 WL 2077812, at *5 (finding that the “extensive discovery and motion practice in

this case provided each side with the additional insight to evaluate the merits and laid the

groundwork for the arm’s-length negotiations that resulted in the settlement”). As discussed above,

Plaintiff “obtained substantial discovery in this case sufficient to support [his] position that the

settlement is the best and most appropriate means for resolving [these claims].” See id. Before the

case was even filed, Class Counsel conducted a thorough investigation, including submitting FOIA

requests to the Department of Labor. See First Richter Decl. ¶ 9. Once the litigation began, Class

Counsel reviewed hundreds of thousands of pages of documents, took several depositions, and

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subpoenaed multiple third parties. See supra at 4. In addition, Class Counsel retained multiple

experts, reviewed their reports, and also engaged in discovery of Defendants’ experts. See id.

“Developing a case to this extent ‘clarifie[d] plaintiffs’ previous understanding of the strength and

weaknesses of their claims and afford[ed] plaintiff[] the ability to confirm the fairness,

reasonableness, and adequacy of the proposed partial settlement.’ ” In re The Mills Corp., 265

F.R.D. at 254–55 (quoting In re MicroStrategy, Inc. Sec. Litig., 148 F. Supp. 2d 654, 665 (E.D.

Va. 2001)).

               C.      The Circumstances Surrounding the Settlement Negotiations

       “Where a settlement is the result of genuine arm’s-length negotiations, there is a

presumption that it is fair.” Gaston II, 2021 WL 2077812, at *5 (collecting cases). That is exactly

the situation presented here. The record reflects that counsel for the Settling Parties engaged in

extensive arm’s length negotiations over multiple months with an experienced, independent

mediator. First Richter Decl. ¶¶ 16–17. In addition, counsel for both sides are well-respected

members of the ERISA class action bar, which “further minimizes concerns that the [Settling

Parties] colluded to the detriment of the class’s interests.” MicroStrategy, 148 F. Supp. 2d at 665.

The Court specifically noted in its Preliminary Approval Order that “the Settlement Agreement

has been negotiated in good faith at arm’s length between experienced attorneys familiar with the

legal and factual issues of this case with the assistance of an experienced mediator[.]” Dkt. 234 at

¶ 1. This further supports approval of the Settlement.

               D.      Counsel’s Experience in the Type of Case at Issue

       Finally, “the opinion of experienced and informed counsel in favor of settlement is afforded

due consideration in determining whether a class settlement is fair and adequate.” Gaston II, 2021

WL 2077812, at *5 (collecting cases). Here, Class Counsel are “experienced litigators who serve

as class counsel in ERISA actions involving defined-contribution plans[.]” Moreno v. Deutsche

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Bank Americas Holding Corp., 2017 WL 3868803, at 11 (S.D.N.Y Sept. 5, 2017). Indeed, “Class

Counsel is one of the relatively few firms in the country that has the experience and skills necessary

to successfully litigate a complex ERISA action such as this.” Karpik v. Huntington Bancshares

Inc., 2021 WL 757123, at *9 (S.D. Ohio Feb. 18, 2021). Class Counsel have won favorable rulings

on class certification and dispositive motions in several ERISA cases, recently tried two other

ERISA class actions (in addition to this action), successfully litigated an appeal before the First

Circuit, and have negotiated class action settlements that have received court approval in numerous

cases in addition to this case. First Richter Decl. ¶¶ 22–23. Accordingly, “it is entirely warranted

for this Court to pay heed to their judgment in approving, negotiating, and entering into a putative

settlement.” In re The Mills Corp., 265 F.R.D. at 255; Sims I, 2019 WL 1995314, at *4.

         Moreover, Plaintiff himself has submitted a declaration in support of the Settlement as the

appointed class representative. See Declaration of Benjamin Reetz in Support of Plaintiff’s Motion

for Preliminary Approval of Partial Class Action Settlement with Lowe’s Defendants, Dkt. 221-7

¶¶ 4–7. This Court previously found both Plaintiff and Class Counsel to be adequate to represent

the interests of the class. See Dkt. 234 at 2, Dkt. 97 at 3.

III.     THE SETTLEMENT TERMS ARE ADEQUATE AND REASONABLE

         To evaluate the adequacy of a settlement, the Court may consider:

         (1) the relative strength of the case on the merits, (2) any difficulties of proof or
         strong defenses the plaintiff and class would likely encounter if the case were to go
         to trial, (3) the expected duration and expense of additional litigation, (4) the
         solvency of the defendants and the probability of recovery on a litigated judgment,
         (5) the degree of opposition to the proposed settlement . . . .

Gaston II, 2021 WL 2077812, at *6 (citing Jiffy Lube, 927 F.2d at 159; West, 2018 WL 1146642,

at *4). Once again, each of the relevant factors support approval of the settlement.6


6
 The fourth factor has little bearing on the analysis here. The solvency of Defendants has not been
an issue in this case. See Sims I, 2019 WL 1995314, at *5 (“Class Counsel have not expressed any
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               A.      Relative Strength of Plaintiff’s Case Against the Lowe’s Defendants
                       and Applicable Defenses

       The first two factors of the adequacy inquiry “compel the Court to examine how much the

class sacrifices in settling a potentially strong case in light of how much the class gains in avoiding

the uncertainty of a potentially difficult case.” In re The Mills Corp., 265 F.R.D. at 256.

Considering the relevant circumstances here, the Settlement is both adequate and reasonable.

Indeed, the Settlement represents a “best of both worlds” scenario for the class, which preserves

its claims against Aon as the primary Defendant while still assuring the class a substantial

monetary recovery and critical prospective relief.

       As Plaintiff noted in seeking preliminary approval of the Settlement, the claims against

Aon have always been the strongest claims in this case. When Plaintiff filed the action, only the

Lowe’s Defendants—not Aon—filed a motion to dismiss. Once discovery was complete, the

record reflected significant evidence of disloyalty by Aon but did not support a breach of loyalty

claim against the Lowe’s Defendants. See Dkts. 163 (redacted) & 168 at 1 n.2 (“Based on

discovery in this case, Plaintiff does not intend to continue to pursue a breach of loyalty claim

against Lowe’s, as he does against Aon.”). At the summary judgment stage, Plaintiff discussed his

claims against Aon first, with the Lowe’s Defendants presented as secondary defendants who

Plaintiff alleged simply did not take adequate precautions to protect the Plan from Aon. See Dkts.




concerns as to the solvency of the defendants or their ability to recover if they were to proceed to
trial.”). Even if collectability of a judgment were an issue, the Settlement puts that issue to rest by
providing a guaranteed payment. Accordingly, the Court may give this factor little or no weight.
See In re Red Hat, Inc. Sec. Litig., 2010 WL 2710517, at *4 (E.D.N.C. June 11, 2010), report and
recommendation adopted, 2010 WL 2710446 (E.D.N.C. July 8, 2010) (“There have been no
representations as to the solvency, or lack thereof, of the Defendants, and the Court gives that
factor little or no weight.”); Robinson v. Carolina First Bank NA, 2019 WL 2591153, at *11
(D.S.C. June 21, 2019) (“There is no evidence that Defendant is in danger of becoming
insolvent . . . . As such, this factor does not impact the Court’s approval of the Settlement
Agreement.”).
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135 (redacted), 136, 185 (redacted), & 186. Finally, the evidence at trial showed that Aon’s

consultants (e.g., Mr. Punnoose) succumbed to serious conflicts of interest, whereas the

Administrative Committee members (e.g., Mr. Green) were earnest and looked to Aon for

guidance.

       Under these circumstances, Aon bears primary responsibility for the decisions that were

made regarding the Plan’s investments. See Restatement (Third) of Trusts § 102 cmt. b(2) (listing

four factors that may be considered when evaluating the relative fault of two breaching trustees:

(1) whether one trustee “mislead the other(s) into joining in the breach”; (2) whether “one trustee

commit[ted] the breach intentionally . . . while the other(s) did so by simple negligence”;

(3) whether “one trustee, having greater experience or expertise, essentially control[led] the

actions of the other(s), such as where a trustee without business experience regularly relied on the

judgment of the experienced trustee”; and (4) and whether “one trustee act[ed] essentially alone

while the joint and several liability of the other(s) resulted merely from a failure to exercise

reasonable care to prevent the breach or from improper delegation or monitoring”). Indeed, Aon

bears 100% responsibility for management of the Plan’s investments after it was appointed as the

Plan’s delegated investment manager. See 29 U.S.C. § 1105(d) (“If an investment manager or

managers have been appointed …, no trustee shall be liable for the acts or omissions of

such investment manager or managers, or be under an obligation to invest or otherwise manage

any asset of the plan which is subject to the management of such investment manager.”).7



7
  At the time the Settling Parties reached a settlement, the Lowe’s Defendants argued in a pending
motion that they had no exposure for monitoring Aon because (1) the Court had already dismissed
Plaintiff’s claim that Lowe’s failed to adequately monitor Aon, see Dkt. 58 at 16; and (2) they
believed no monitoring claim was alleged against the Administrative Committee in the FAC, see
Dkt. 214 at 1. Even if Plaintiff had succeeded in defeating this motion, any liability on the part of
the Administrative Committee for failing to adequately monitor Aon would have been derivative
in nature, and would not have yielded additional damages.
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       Based on the respective roles of the parties and the inherent risks of class action litigation,

see US Airline Pilots Ass’n v. Velez, 2016 WL 1615408, at *4 (W.D.N.C. Apr. 22, 2016)

(“Velez I”) (“Regardless of the strength of a claim on the merits, one can never ensure a finding

of liability in complex litigation”), the $12.5 million settlement with the Lowe’s Defendants is fair,

reasonable, and adequate. As a basis for comparison, it is useful to consider the settlement that was

reached in another recent case involving the Insperity 401(k) Plan. See Pledger v. Reliance Trust

Co., No. 1:15-cv-04444 (N.D. Ga. Oct. 12, 2020), Dkt. 280-1 (memorandum in support of motion

for preliminary approval) and Dkt. 280-2 (settlement agreement). In that case, Reliance Trust

(which was represented by the same counsel as Aon in this case) served as the discretionary

investment manager to the Insperity 40(k) plan. See Pledger, No. 1:15-cv-04444 (N.D. Ga. April

15, 2016), Dkt. 37 at ¶¶ 18, 35 (Amended Complaint). Similar to here, the plaintiffs alleged that

“Reliance Trust acted to benefit itself and the other defendants by selecting and retaining high-

cost and poorly performing investments for the Plan, including investing $500 million of the Plan’s

assets in its own newly-created and untested proprietary target-date funds.” Id. at ¶ 2. In addition,

the plaintiffs alleged that Insperity Holdings (the plan sponsor) was “liable for Reliance Trust’s

acts or omissions in carrying out delegated responsibilities because Insperity Holdings knowingly

participated in or failed to remedy Reliance Trust’s breaches of fiduciary duties.” Id. at ¶¶ 23,

202(d). After a two-week trial, the plaintiffs reached a settlement with Reliance Trust that

“resolve[d] all claims against all Defendants.” Pledger, No. 1:15-cv-04444, Dkt. 280-1 at 8

(emphasis added). Under the terms of that settlement, Reliance Trust paid $39.8 million to resolve

the case, and Insperity Holdings and its affiliated entities paid nothing. Id.; see also Pledger,

No. 1:15-cv-04444, Dkt. 280-2 at ¶ 5.4 (providing that “Reliance Trust, or its agents or insurers,

will deposit” all monies into the settlement fund). That settlement received final court approval,



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see Pledger v. Reliance Tr. Co., 2021 WL 2253497, at *1 (N.D. Ga. Mar. 8, 2021), and this Court

should similarly grant final approval of the Settlement here. The Settlement Class is effectively

$12.5 million ahead of the class in Pledger, having negotiated a $12.5 million payment from the

plan sponsor while preserving all claims against the investment manager.

       Moreover, the Lowe’s Defendants also have agreed to critical prospective relief.

Specifically, the Administrative Committee has agreed to “issue a request for proposal (“RFP”)

for a delegated fiduciary investment manager for the Plan.” Settlement Agreement ¶ 6.1. As part

of the RFP process “[t]he Administrative Committee will engage an independent consulting firm

(unrelated to Aon Hewitt) with experience conducting similar RFPs.” Id. Further, “[t]he candidates

in the RFP process will be free to propose alternative investment options, investment strategies,

and/or investment lineup structures to the Administrative Committee,” and “the Administrative

Committee will consider all options presented.” Id. In other words, the Administrative Committee

has agreed to reevaluate through an RFP process all of the relevant decisions (regarding investment

lineup structure, the delegated investment manager, and specific investment strategies and

investment options) that led to the selection of the Aon Growth Fund for the Plan. This prospective

relief addresses the core issues raised by the lawsuit, and further supports approval of the

Settlement. See Sims I, 2019 WL 1995314, at *3, *5 (noting value of “[n]on-monetary relief” and

approving settlement agreement that “require[d] the defendants to solicit requests for proposals

and hire an independent consultant to evaluate the Plan’s investment options and make other

recommendations”).

               B.     Anticipated Duration and Expenses of Additional Litigation

       The third Jiffy Lube factor asks the Court “to weigh the settlement in consideration of the

substantial time and expense litigation of this sort would entail if a settlement was not reached.”

In re The Mills Corp., 265 F.R.D. at 256. This factor strongly supports the Settlement here. It is
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well-recognized that ERISA class cases involving retirement plans “often lead[] to lengthy

litigation.” Krueger v. Ameriprise Fin., Inc., 2015 WL 4246879, at *1 (D. Minn. July 13, 2015).

Indeed, cases such as this can extend for a decade before final resolution, sometimes going through

multiple appeals. See, e.g., Tussey v. ABB, Inc., 850 F.3d 951 (8th Cir. 2017) (recounting lengthy

procedural history of case that was initially filed in 2006, and remanding to district court a second

time); Tibble v. Edison Int’l, 2017 WL 3523737, at *15 (C.D. Cal. Aug. 16, 2017) (outlining

remaining issues ten years after suit was filed in 2007); Abbott v. Lockheed Martin Corp., 2015

WL 4398475, at *4 (S.D. Ill. July 17, 2015) (noting that the case had originally been filed on

September 11, 2006). Further, the amount of resources that are required to litigate an ERISA class

case are substantial. One of the chief advantages of the Settlement is that avoids the time and

expense of further litigation between the Settling Parties. This also favors approval of the

Settlement. See Gaston v. LexisNexis Risk Sols. Inc., 2021 WL 244807, at *6 (W.D.N.C. Jan. 25,

2021) (“Gaston I”) (“[T]he Parties anticipate incurring substantial additional costs in pursuing this

litigation further. The level of additional costs would significantly increase as the appellate process

proceeded and any effort that might be required if the matter is remanded for further proceedings.

Thus, the likelihood of substantial future costs favors approving the proposed settlement.”) (citing

Sims I, 2019 WL 1995314, at *4–5; Horton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 855 F.

Supp. 825, 833 (E.D.N.C. 1994)); see also Velez II, 2016 WL 4698540, at *4.

               C.      The Degree of Opposition to the Settlement

       “[T]he absence of a large number of objections to a proposed class action settlement raises

a strong presumption that the terms of a proposed class settlement action are favorable to the class

members.” West, 2018 WL 1146642, at *6 (citation omitted); Seaman v. Duke Univ., 2018 WL

718961, at *3 (M.D.N.C. Jan. 4, 2018). Here, out of more than 74,000 class members, only one

lodged an objection, amounting to approximately 0.001% of the Class. The near unanimous
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support for the Settlement further evidences its reasonableness and adequacy. See Velez II, 2016

WL 4698540, at *4 (“Finally, the Court finds that the degree of opposition to the settlement is

minimal and the support is significant. Although there were timely objections from fourteen

individuals (three sets of unique objections), the Court finds the number to be insignificant when

considering a class size of 5,222 individuals.”); Skochin v. Genworth Fin., Inc., 2020 WL 6532833,

at *14 (E.D. Va. Nov. 5, 2020) (“It is also significant that objections were lodged by 0.021% of

the class. . . [T]he fact that so few members of the class objected to, or opted out of, the settlement

is a testament to the conclusion that the Notice was adequate as well as to whether the settlement

is fair and reasonable.”); In re The Mills Corp., 265 F.R.D. at 258 (observing that limited or no

objections “gives the Court a great deal of confidence in the settlement[’]s adequacy”);

MicroStrategy, 148 F. Supp. 2d at 667–68 (“Such a lack of opposition to the partial settlement

strongly supports a finding of adequacy[.]”).

       Moreover, the lone objection that was received raises no issues with respect to the adequacy

of the Settlement. Rather, the objection concerns Class Counsel’s request for attorneys’ fees. See

Third Richter Decl. Ex. 2. For the reasons that follow, Class Counsel respectfully submit that this

objection should be overruled.

       First, the objector’s proposed 10% attorney fee award is not consistent with the usual and

customary percentage in a case such as this. See Kruger v. Novant Health, Inc., 2016 WL 6769066,

at *3 (M.D.N.C. Sept. 29, 2016) (“Kruger II”) (“[C]ourts have found that ‘[a] one-third fee is

consistent with the market rate’ in a complex ERISA 401(k) fee case such as this matter”);

Chrismon v. Pizza, 2020 WL 3790866, at *5 (E.D.N.C. July 7, 2020) (“Many courts in the Fourth

Circuit have held that attorneys’ fees in the amount of 1/3 of the settlement fund is reasonable.”)




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(collecting cases);8 accord Clark II, 2019 WL 2599201, at *5 (approving one-third fee in ERISA

class action); Sims II, 2019 WL 1993519, at *2 (approving one-third fee to Nichols Kaster, PLLP

and co-counsel in ERISA class action); Intravaia v. Nat’l Rural Elec. Coop. Ass’n, No. 1:19-cv-

00973, Dkt. 114 at 1 ¶ 1 (E.D. Va. Feb. 25, 2021) (same).9 Indeed, the objection does not address

or analyze any of the relevant criteria for evaluating attorneys’ fees awards in the Fourth Circuit.

Cf. Sims v. BB&T Corp., 2019 WL 1993519, at *1 (M.D.N.C. May 6, 2019) (“Sims II”)

(identifying criteria set forth in Barber v. Kimbrell’s, Inc., 577 F.2d 216, 226 & n.28 (4th Cir.

1978)); Clark v. Duke Univ., 2019 WL 2579201, at *5 (M.D.N.C. June 24, 2019) (“Clark II”)

(same). Accordingly, there is no legal basis for the objection. See Skochin, 2020 WL 6532833,

at *10 (“The objectors to a class settlement generally bear the burden of proving any assertions

they raise challenging the reasonableness of a class action settlement.”); In re Serzone Prod. Liab.

Litig., 231 F.R.D. 221, 234–35 (S.D.W. Va. 2005) (overruling objections where objectors did not

cite case law or other relevant authority to support their position).

       Second, the objector does not appear to consider the substantial amount of work performed

by Class Counsel or the risks that they assumed in undertaking this matter on a contingency basis.

As Class Counsel explained in connection with their fee application, the requested one-third fee

($4,166,667) is less than their lodestar ($4,763,951.25). See Dkt. 249 at 16; Declaration of Kai



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  See also Krueger, 2015 WL 4246879, at *2 (“[I]n comparing the requested fee with fee awards
in similar cases, the relevant comparators are ERISA class actions asserting breaches of fiduciary
duties in the selection and retention of plan investment options …. In such cases, courts have
consistently awarded one-third contingent fees.”); Tussey v. ABB, Inc., 2019 WL 3859763, at *4
(W.D. Mo. Aug. 16, 2019) (“Class Counsel’s requested one-third fee is common in these cases.”).
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  See also, e.g., Karpik, 2021 WL 757123, at *1 (approving one-third fee to Nichols Kaster, PLLP
in ERISA class action); Stevens v. SEI Invs. Co., 2020 WL 996418, at *14 (E.D. Pa. Feb. 28, 2020)
(same); Beach v. JPMorgan Chase Bank, No. 1:17-cv-00563, Dkt. 232 (S.D.N.Y. Oct. 7, 2020)
(same); In re M&T Bank Corp. ERISA Litig., No. 1:16-cv-375, Dkt. 190 (W.D.N.Y. Sept. 3, 2020)
(same); Clark v. Oasis Outsourcing Holdings Inc., No. 18-81101, Dkt. 23 (S.D. Fla. Dec. 20, 2018)
(same); Andrus v. New York Life Ins. Co., No. 16-05698, Dkt. 83 (S.D.N.Y. June 15, 2017) (same).
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Richter in Support of Plaintiff’s Motion for Approval of Attorneys’ Fees and Costs, Administrative

Expenses, and Class Representative Service Award (“Second Richter Decl.”), Dkt. 249-1, ¶ 12.

This further supports the reasonableness of the requested fee, as it is typical for class counsel to

receive a lodestar multiplier to compensate them for the risks that they assumed. See Kruger II,

2016 WL 6769066, at *4–5 (noting “in cases where ‘the risks of the litigation are immense and

[there is a] risk of receiving little or no recovery,’ like this one, the court may apply a risk multiplier

to compensate the attorneys for the risk of nonpayment in the event the litigation was unsuccessful”

and collecting cases adopting multipliers ranging from 2.5 to 8.9); In re The Mills Corp.,

265 F.R.D. at 261–62 (overruling two objections to attorneys’ fees, observing that the average

lodestar multiplier identified in a study cited by one objector was 4.5, which was “substantially

higher than the applicable multiplier in this case”); Kirkpatrick v. Cardinal Innovations Healthcare

Sols., 352 F. Supp. 3d 499, 507 (M.D.N.C. 2018) (“Since collective counsel’s lodestar multiplier

is far below those generally accepted, their requested fees are reasonable.”).

        Third, the objector appears to be under the misimpression that attorneys’ fees should be

reduced if Class Counsel receive reimbursement of their costs. See Third Richter Decl. Ex. 2

(“I feel if Class Counsel is going to be reimbursed for all actual & anticipated litigation costs and

administrative expenses associated with the Settlement, their award for Attorneys’ Fees should be

no more than 10% ….”). “The prevailing view is that expenses are awarded in addition to the fee

percentage.” Sims II, 2019 WL 1993519, at *4 (emphasis added) (quoting Smith v. Krispy Kreme

Doughnut Corp., 2007 WL 119157, at *3 (M.D.N.C. Jan. 10, 2007)). Moreover, even if Class

Counsel’s request for reimbursement of expenses were relevant to the fee request, Class Counsel

are not requesting reimbursement of “all actual & anticipated litigation costs and administrative

expenses associated with the settlement.” See Third Richter Decl. Ex. 2. In connection with the



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Settlement, Class Counsel are only seeking reimbursement of half of their litigation costs through

the date of Settlement.10 See Dkt. 249 at 17; Second Richter Decl. ¶ 16. Thus, even if approved as

requested, the pending request for costs and expenses will not make Class Counsel whole.

        Finally, the objection is at odds with the Independent Fiduciary’s analysis. As noted above,

the Independent Fiduciary found that the requested attorneys’ fees are reasonable. See Third

Richter Decl. Ex. 1 at 8–9. This further supports approval of the requested fees. See Sims II, 2019

WL 1993519, at *5 (approving one-third fee, noting that “the Independent Fiduciary …

determined that Class Counsel’s fee award and costs were reasonable in light of the Settlement

achieved.”).11

        Regardless, the Settlement should be approved because there were no objections to the

Settlement terms, the Independent Fiduciary has approved those terms, and the Settlement is not

conditioned on approval of Class Counsel’s attorneys’ fees. See Settlement Agreement ¶ 7.1.

IV.     THE CLASS NOTICE WAS REASONABLE

        The class notice program in this case also was reasonable and satisfied the requirements of

Rule 23 and due process. The “best notice” practicable under the circumstances includes individual

notice to all class members who can be identified through reasonable effort. Fed. R. Civ. P.

23(c)(2)(B). That is precisely the type of notice that was provided here.

        As noted above, the Settlement Administrator sent the Court-approved Settlement Notices

to Class Members via U.S. Mail. See supra at 8. This type of notice is presumptively reasonable.

See Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985); accord Intravaia v. Nat’l Rural


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   Plaintiff and Class Counsel will seek reimbursement of the remaining expenses, and additional
expenses through trial, if and when the remainder of the case is successfully resolved against Aon.
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   The fact that the objection is not joined by any other class members is also noteworthy. See Berry
v. Schulman, 807 F.3d 600, 619 (4th Cir. 2015) (“[An] almost complete lack of objection to the
fee request provides additional support for the district court's decision to approve it.”) (citing Flinn,
528 F.2d at 1174).
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Elec. Coop. Ass’n, No. 1:19-cv-00973, Dkt. No. 113 (E.D. Va. Feb. 2, 2021) (finding notice via

U.S. mail “met the requirements of Rules 23(c)(2) and (3), and due process, and constituted the

best notice practicable under the circumstances”); Clark I, 2019 WL 2588029, at *2. Further, the

record reflects that over 99% of the Notices of Settlement were successfully delivered. See Mitchell

Decl. ¶ 13. This confirms the effectiveness of the notice program in this case. See West, 2018 WL

1146642, at *7 (“The notices were received by 95% of the Class Members, a percentage that is on

the upper end of the widely accepted standard of 70-95% to establish high-reaching notice.”).

Moreover, the Notices were accessible to all class members via the settlement website.12

       Finally, the content of the Notices also was reasonable. The Notices included, among other

things: (1) a summary of the lawsuit; (2) a clear definition of the Settlement Class; (3) a description

of the material terms of the Settlement; (4) a disclosure of the release of claims; (5) a description

of the proposed Bar Order; (6) instructions for submitting a rollover form (in the event that Former

Participant Class Members so elect); (7) instructions as to how to object to the Settlement and a

date by which Settlement Class members must object; (8) the date, time, and location of the final

approval hearing; (9) contact information for the Settlement Administrator; and (10) information

regarding Class Counsel and the amount that Class Counsel may seek in attorneys’ fees and costs.

See Mitchell Decl. Exs. 1 & 2. This information is “reasonably calculated, under all the

circumstances, to apprise interested parties of the pendency of the action and afford them an

opportunity to present their objections.” See Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S.

306, 314 (1950); accord Sims I, 2019 WL 1995314, at *2 (approving substantially similar notice

program).



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  See Gaston I, 2021 WL 244807, at *7 (approving notices that were supplemented by “(1) a
settlement website; [and] (2) a call center”); Sims I, 2019 WL 1995314, at *2; Kruger v. Novant
Health, Inc., 2016 WL 6769054, at *4–5 (M.D.N.C. May 18, 2016) (“Kruger I”).
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V.       THE COURT SHOULD REAFFIRM ITS CERTIFICATION OF THE SETTLEMENT CLASS

         In its Order for Preliminary Approval of the Settlement, the Court preliminarily certified

the following Settlement Class:

         All participants and beneficiaries of the Lowe’s 401(k) Plan whose Plan account
         balances were invested in the Aon Growth Fund at any time on or after October 1,
         2015, through the date of preliminary approval, excluding the Settling Defendants,
         any of their directors, and any officers or employees of the Settling Defendants with
         responsibility for the Plan’s investment or administrative functions.

Dkt. 234 ¶ 2. This Settlement Class is consistent with the class previously certified by the Court.

Id. (citing Dkt. 97). Nothing has changed since the Court preliminarily certified the Settlement

Class for preliminary approval. Accordingly, the Court should reaffirm its approval of Settlement

Class.

                                           CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests that the Court grant final approval

of the proposed Settlement, and enter the accompanying proposed Final Approval Order.

                                                Respectfully Submitted,

Dated: August 12, 2021                          NICHOLS KASTER, PLLP

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